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                                                                                  2025 Feb-13 AM 08:25
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

IN RE: SUBPOENAS SERVED,                  )
UPON BRUCE BARZE AND                      )
BARZE TAYLOR NOLES                        ) Case No: 2:24-mc-01645-AMM
LOWTHER LLC (DAVID AND                    )
MARY SILLS vs. SOUTHERN                   )
BAPTIST CONVENTION, et al.,               )
N.D. Tenn., No. 3:23-cv-00478),           )

                    JOINT STIPULATION OF DISMISSAL

      COME NOW plaintiffs David and Mary Sills (“Plaintiffs”) and movants R.

Bruce Barze, Jr. and Barze Taylor Noles Lowther LLC (“Movants”) (collectively,

the “Parties”), and having met and conferred regarding Movant’s Motion to Quash

and for Sanctions (Doc. 1), jointly stipulate that this matter is due to be dismissed.

The Parties agree and state as follows:

      1.     In November 2024, Plaintiffs issued a subpoena to Movants seeking

documents between Movants and other persons (excluding Movants’ client, former

defendant Dr. Eric Geiger) concerning the underlying litigation pending in the

Middle District of Tennessee, styled as David and Mary Sills v. Southern Baptist

Convention, et al., U.S. District Court, Middle District of Tennessee, Case No. 3:23-

cv-00478.

      2.     On November 26, 2024, Movants filed the subject Motion to Quash and

for Sanctions in the United State District Court for the Northern District of Alabama.



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      3.     As part of the meet and confer process, Movants identified the

documents shown to and reviewed by Dr. Eric Geiger in preparation for his

deposition in the underlying litigation.

      4.     Although Movants claim the documents requested in Plaintiffs’

subpoena are subject to the common interest/joint defense privilege and the work

product privilege, Movants objected to providing a privilege log on the grounds that

the requested documents were generated after the underlying litigation was filed. In

support, Movants cite the Middle District of Tennessee’s Administrative Order No.

174-1 entitled “Default Standard for Discovery of Electronically Stored

Information.”

      5.     Plaintiffs agree to withdraw without prejudice the subpoena directed to

Movants and seek similar discovery from the defendants in the underlying litigation.

No subpoena shall be redirected to Movants without first meeting and conferring.

      6.     In light of the foregoing, the Parties stipulate that this matter is due to

be dismissed.

      WHEREFORE, the Parties respectfully request that this Court enter an order

dismissing this matter.

      Respectfully submitted,

                                           /s/ Bruce F. Rogers
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                                           Elizabeth N. Terenzi (ASB-1139-G40M)
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                         CERTIFICATE OF SERVICE

      I hereby certify that on February 13, 2025, I electronically filed the foregoing
and served a copy of the foregoing on the following counsel of record:
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                                       /s/ Bruce F. Rogers
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